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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

EVANSTON INSURANCE COMPANY
Plaintiff CIVIL ACTION NO. 2010-00203

VS. JUDGE: LANCE M. AFRICK
RESOURCE MANAGEMENT, INC.;
MICHAEL ZABALAOUI;
D. RANDOLPH WAESCHE; P.K.
SCHEERLE; BRUCE BOLYARD;
THE BOLYARD CHILDREN’S TRUST;
THE BOLYARD FAMILY INSURANCE
TRUST; MARGARET CANDON; and
BETTY WILSON JEFFREY

Defendants

MAGISTRATE: DANIEL KNOWLES III

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RMI DEFENDANTS’ MOTION TO DISMISS
OR, IN THE ALTERNATIVE, TO STAY PROCEEDINGS

Defendants Resource Management, Inc., Michael Zabalaoui and D. Randolph
Waesche (collectively, the “RMI Defendants”) respectfully move this Court to dismiss, or,
in the alternative, stay these proceedings. As set forth in the Memorandum filed in support
of this Motion, Plaintiff and all defendants are parties to a direct action in state court, which
joins all issues between and amongst the claimants, insureds, and carriers in a single
proceeding. Thus, for reasons of judicial economy and under well-established case law, this
Court should dismiss this action, or in the alternative, stay the proceedings.

This Motion is supported by the Memorandum filed contemporaneously herewith

and by the following Exhibits (attached hereto):

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Exhibit A

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Affidavit of George Denegre, Jr., and the following exhibits thereto:

Exhibit 1 (in globo): Original Petitions filed in the Scheerle Lawsuit

Exhibit 2 (in globo)
Exhibit 3 (in globo)

Exhibit 4 (in globo)

Exhibit 5 (in globo)

Exhibit 6

(P.K. Scheerle, et al. v. Judith Zabalaoui, et al.,
No. 08-12562, Civil District Court, Parish of
Orleans, and P.K. Scheerle, et al. v. Judith
Zabalaoui, et al., No. 667443, 24th Judicial
District Court, Parish of Jefferson)

First Amended and Supplemental Petitions filed in
the Scheerle Lawsuit

Second Amended and Supplemental Petitions filed
the Scheerle Lawsuit

Motions to Amend Petition, with corresponding
Orders and Third Amended and Supplemental
Petitions, filed in the Scheerle Lawsuit

Motions to Amend Petitions, with corresponding
Orders and Fourth Amended and Supplemental
Petitions, filed in the Scheerle Lawsuit

Evanston Insurance Company’s Exception, Answer,
and Affirmative Defenses to Plaintiffs’ Original
Petition, First Amended and Supplemental Petition,
Second Amended and Supplemental Petition, Third
Amended Supplemental Petition, and Fourth
Amended and Supplemental Petition filed in the
Scheerle Lawsuit in Jefferson Parish

Respectfully submitted,

/s/ George Denegre, Jr.

George Denegre, Jr. (Bar No. 8387)
James A. Brown (Bar No. 14101)
LISKOW & LEWIS

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Attorneys for Resource Management, Inc.,
Michael Zabalaoui, D. Randolph Waesche

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CERTIFICATE OF SERVICE

 

I HEREBY CERTIFY that on the 23rd day of December, 2010, I electronically filed
the forgoing document with the Clerk of Court by using the CM/ECF system, and a copy of

the foregoing pleading has been electronically mailed to all attorneys of record.

/s/ George Denegre, Jr.

 

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